                      UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

ESTATE OF JAY ANDERSON, JR.
by Special Administrator, Starkeisha DeLaRosa;
J.A. minor child, through her next friend Starkeisha DeLaRosa,

                                        Plaintiff,                   Case No. 2:21-cv-1179

v.

CITY OF WAUWATOSA,
OFFICER JOSEPH ANTHONY MENSAH,
in his individual capacity, and
FORMER CHIEF OF POLICE BARRY WEBER,
in his Official capacity,

                                        Defendants.
_____________________________________________________________________________________________

                        DECLARATION OF JASMYNE M. BAYNARD
_____________________________________________________________________________________________

        Jasmyne M. Baynard, being first duly sworn under oath, declares and states as follows:

        1.       I am an attorney licensed to practice law in the State of Wisconsin and am an

attorney with Gunta Law Offices, S.C., which represents the Defendants in this matter.

        2.       I make this Declaration on personal knowledge and my review of various

documents.

        3.       Prior to filing this Motion, the parties met and conferred on February 16, 2022, in

good faith in an effort to resolve these discovery disputes.

        4.       Attached as Baynard Declaration Exhibit A is a true and accurate copy of

Defendants’ February 10, 2022, e-mail to Plaintiff.

        5.       Attached as Baynard Declaration Exhibit B is a true and accurate copy of

Defendants’ February 24, 2022 e-mail to Plaintiff.




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       6.       Attached as Baynard Declaration Exhibit C is a true and accurate copy of

Plaintiff’s February 28, 2022 e-mail and attached Notice of Deposition.

       7.       Attached as Baynard Declaration Exhibit D is a true and accurate copy of

Defendants’ March 6, 2022 e-mail to Plaintiff.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge.

       Executed on March 9, 2022.

                                                                   /s/ Jasmyne M. Baynard
                                                                   Jasmyne M. Baynard




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